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 2
                                    UNITED STATES DISTRICT COURT
 3
                                          DISTRICT OF NEVADA
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 5
     UNITED STATES OF AMERICA,         )
 6                                     )
               Plaintiff,              )
 7                                     )                    2:07-cr-0014 JCM (RJJ)
   vs                                  )
 8                                     )
   LUIS ANGEL GONZALEZ-LARGO,          )
 9                                     )
               Defendant,.             )                           ORDER
10 ____________________________________)
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            Presently before the court is the government’s motion seeking a court order that petitioner
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     has waived attorney-client privilege. Doc. 365. Petitioner, Luis Angel Gonzalez-Largo has failed
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     to file an opposition.
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            Mr. Gonzalez filed a 28 U.S.C. § 2255 motion to vacate, set aside or correct
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     his sentence, alleging ineffective assistance of counsel. The government represents that information
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     from defendant’s former trial counsel, Gabriel L. Grasso, Esq., is necessary in order to respond to Mr.
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     Gonzalez’s allegations.
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            The voluntary disclosure by a defendant of privileged attorney communications “constitutes
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     waiver of the privilege as to all other such communications on the same subject.” Weil v.
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     Investment/Indicators, Research & Management, 647 F.2d 18, 24 (9th Cir. 1981); see also, United
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     States v. Zolin, 809 F.2d 1411, 1415-16 (9th Cir. 1987); Clady v. County of Los Angeles, 770 F.2d,
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     1421, 1433 (9th Cir. 1985). The Ninth Circuit has explained that “a section 2255 petitioner who
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     asserts ineffectiveness of counsel as a ground for relief from his conviction may thereby place into
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     issue his communications with trial counsel. Under such circumstances, a petitioner cannot assert
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     such a claim without thereby waiving, at least to a limited extent, his attorney-client privilege.”
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     Breier v. United States, 947 F.2d 949, 1991 WL 220324 (9th Cir. 1991).
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     ...
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 1         The court hereby finds it appropriate to deem the attorney-client privilege existing between
 2 Mr. Gonzalez and Mr. Grasso waived as to those matters raised in Mr. Gonzalez’s § 2255 motion.
 3 Mr. Grasso shall therefore provide, to the government an affidavit concerning all information known
 4 to him that are relevant to the charges raised in the § 2255 motion as soon as practicable.
 5         Accordingly,
 6         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the government’s motion
 7 for an order deeming attorney-client relationship waived (doc. 365) be, and the same hereby is,
 8 GRANTED.
 9         DATED July 12, 2012.
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11                                                       UNITED STATES DISTRICT JUDGE
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